Case 1:20-cv-00316-JLS-LGF Document 75 Filed 04/04/22 Page 1 of 9
Case 1:20-cv-00316-JLS-LGF Document 75 Filed 04/04/22 Page 2 of 9
Case 1:20-cv-00316-JLS-LGF Document 75 Filed 04/04/22 Page 3 of 9
Case 1:20-cv-00316-JLS-LGF Document 75 Filed 04/04/22 Page 4 of 9
Case 1:20-cv-00316-JLS-LGF Document 75 Filed 04/04/22 Page 5 of 9
Case 1:20-cv-00316-JLS-LGF Document 75 Filed 04/04/22 Page 6 of 9
Case 1:20-cv-00316-JLS-LGF Document 75 Filed 04/04/22 Page 7 of 9
Case 1:20-cv-00316-JLS-LGF Document 75 Filed 04/04/22 Page 8 of 9
-cv-00316-JLS-LGF Document 75 Filed 04/04/22 P
